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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                             Newport News Division

  ROYCE SOLOMON,et al., individually
  and on behalfofall others similarly situated.

                             Plaintiffs,

             V.                                                                     Civil Action No.4:17cvl45

  AMERICAN WEB LOAN,et al..

                             Defendants.


                                             OPINION & ORDER II


           In Opinion & Order I, this Court addressed motions concerning subject matter

  jurisdiction, arbitration, and venue. In this Opinion and Order II, the Court addresses the

  remaining bases of Defendants' Motions to Dismiss.'

           These matters come before the Court on Motions to Dismiss filed by American Web

  Loan, Inc. AWL,Inc., MacFariane Group (collectively,"AWL Defendants" or "AWL"),joined

  by Defendants Mark Curry ("Curry"); Sol Partners ("Sol"); Medley Management, Inc., Medley

  Group, LLC, Medley LLC, Medley Capital Corp., and Medley Opportunity Fund II, LP

  (collectively,"Medley Defendants" or "Medley"); Brook and Seth Taube (collectively,"the

  Taubes"); Middlemarch Partners LLC("Middlemarch"); and DHI Computing Service, Inc. d^/a

  GOLDPoint("GOLDPoints"), Docs. 62, 76, 77, 81, and 87, and Medley Defendants' Motion to

  Dismiss for Lack ofPersonal Jurisdiction, Improper Venue, and Failure to Join a Necessary

  Party, Docs. 62,64. The Court held a hearing regarding each of these motions and for the

  reasons stated herein, and on the bench the Court RULES as set forth below.



  'This Opinion and Order II is issued in conjunction with its companion, Opinion and Order I. On February 5 and 6,
  2019, the Court held a lengthy hearing on these motions. At that hearing, the Court ruled from the bench. These two
  Opinions and Orders are offered to further explain the Court's rulings.

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                                      I.      BACKGROUND


         Plaintiffs are four individuals who obtained loans from American Web Loan. Doc. 41

  ("Am. Compl.")       10-13. The interest rates for each of Plaintiffs' loans are alleged to be more

  than two times the rate allowed under the laws of each of Plaintiffs' respective states. Id   145,

  158,168,184(describing interest rate for each loan). Accordingly,Plaintiffs allege that Defendant

  Curry, with the assistance of Defendants AWL, Medley, the Taubes, Middlemarch, GOLDPoint,

  Sol, and John Doe Defendants (1-100), has used the sovereignty of the Otoe-Missouria Indian

  Tribe (the "Tribe") to personally profit from allegedly usurious interest rates on short-term loans

  issued to individuals throughout the United States. Am. Compl. HI 1, 6.

         Altogether, Plaintiffs' complaint alleges nine (9) different causes of action against the

  various defendants. In Count One,Plaintiffs allege that AWL,Curry, Sol, Medley,and the Taubes

  engaged in the collection of unlawful debt in violation of the Racketeer Influenced and Corrupt

  Organizations Act("RICO"). Id HH 209-22. In Count Two,Plaintiffs allege that the AWL,Curry,

  Sol, Medley Defendants, the Taubes, GOLDPoint, and Middlemarch engaged in a RICO

  conspiracy. Id HH 223-27. In Count Three, Plaintiffs allege that the AWL Defendants, Curry, Sol,

  Medley, the Taubes, and GOLDPoint violated the Electronic Funds Transfer Act ("EFTA"). Id

  HH 228-43. In Counts Four through Eight, Plaintiffs allege that Defendant AWL,Inc. committed

  several violations ofthe Truth in Lending Act("TILA"). Id HH 244-73. In Count Nine, Plaintiffs

  allege that all defendants have been unjustly enriched by their continued possession of funds

  illegally taken from Plaintiffs and members ofthe class. Id HH 274-276. Plaintiffs define the class

  of individuals as:

         All persons who took out loans from American Web Loan. Included in the Class are any
         persons who took out loans through the American Web Loan d/b/a entity known as Clear
         Creek Lending. The Class period begins on February 10, 2010 and continues through the
         present.
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  Am. Compl. H 198.
                                II.    PROCEDURAL HISTORY

         Plaintiffs initially filed their complaint on December 15, 2017. Doc. 1. Plaintiffs filed an

  Amended Complaint on March 9, 2018. Am. Compl. On April 9, 2018, the following motions

  were filed:


         (1) Medley Defendants and the Taubes' Motion to Dismiss for Failure to State a Claim and

         Failure to Join a necessary party. Doc. 62;

         (2) Medley Defendants and the Taubes' Motion to Dismiss for Lack of Personal

         Jurisdiction and Improper Venue, Doc. 64;

         (3) AWL Defendants' Motion to Transfer, Doc. 70;

         (4)AWL Defendants' Motion to Dismiss for Lack of Subject Matter Jurisdiction, Doc. 72;

         (5) AWL Defendants' Motion to Compel Arbitration, Doc. 74;

         (6)AWL Defendants' Motion to Dismiss for Failure to State a Claim, Doc. 76;

         (7) Middlemarch's Motion to Dismiss for Failure to State a Claim, Doc. 77;

         (8) GOLDPoint's Motion to Dismiss for Failure to State a Claim, Doc. 81;

         (9) Defendants Curry and Sol's Motion to Transfer Case, Doc. 83;

         (10)Defendants Curry and Sol's Motion to Compel Arbitration, Doc. 84;

         (11) Defendant Curry's Motion to Dismiss for Lack of Subject Matter Jurisdiction, Doc.

         85;

         (12) Defendant Sol's Motion to Dismiss for Lack of Subject Matter Jurisdiction, Doc. 86;

         and


         (13)Defendants Curry and Sol's Motion to Dismiss for Failure to State a Claim, Doc. 87.
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          On June 8,2018, Plaintiffs opposed each ofthe defendants' motions.^ Docs. 109-115. On

  July 9,2018, each defendant replied. Docs. 133-145.

          On August 2, 2018, the Court held a status conference regarding this matter and then

  consolidated this case with the matter Henele v. Currv. which had recently been transferred from

  the Richmond Division. Doc. 160. The Court ORDERED the parties to complete jurisdictional

  discovery on the matters of sovereign immunity and venue and propose a scheduling order for

  supplemental briefings. Id On September 7, 2018, the Parties' submitted a Proposed Schedule,

  which the Court approved by separate Order. See Docs. 187, 201. On November 6, 2018,

  Plaintiffs filed a supplemental brief opposing AWL Defendants' and Defendants Curry and Sol's

  Motions to Transfer. Docs. 221, 222. On November 13,2018, AWL Defendants and Defendants

  Curry and Sol filed a supplemental brief in support of their Motion to Transfer. Docs. 231, 232,

  235. On November 20, 2018, AWL Defendants and Defendants Curry and Sol each filed

  supplemental briefs in support oftheir Motions to Dismiss for Lack of Subject Matter Jurisdiction

  and Plaintiffs filed a supplemental opposition to Defendants' Motions. Docs. 245, 246, 256, 257,

  264, 265, 272, 273. On November 29, 2018, Plaintiffs filed a corrected supplemental opposition

  without objection.^ Doc. 298-1. On December 11, 2018, AWL Defendants, Defendants Curry

  and Sol, and Plaintiffs each replied to their respective supplemental briefs regarding subject matter

  jurisdiction. Docs. 309,310,314,315,316,317,318,319. These matters are now ripe for review.

                                        IIL      LEGAL STANDARD

          Under Federal Rule of Civil Procedure 12(b)(6), a motion to dismiss tests the sufficiency

  of a complaint; it does not resolve contests surrounding the facts, the merits of a claim, or the

  applicability of defenses. Republican Partv of N.C. v. Martin. 980 F.2d 943,952(4th Cir. 1992).


  ^ The Court had previously GRANTED Plaintiffs' Motion for extension oftime to file opposition briefs. Doc. 92.
  ^ This corrected opposition dealt with clerical and typographical errors as well as wrongly-cited exhibits.
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  "To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

  true, to 'state a claim to relief that is plausible on its face.'" Ashcroft v. lobal. 556 U.S. 662,678

  (2009)(citing Bell Atl. Corp. v. Tvyomblv. 550 U.S. 544, 570 (2007));^also Venkatraman v.

  REI Svs.. Inc.. 417 F.3d 418,420(4th Cir. 2005)("In considering a motion to dismiss, we accept

  as true all well-pleaded allegations and view the complaint [or counterclaim] in the light most

  favorable to the plaintiff[or counterclaim plaintiff].")(citing Mvlan Labs.. Inc. v. Matkari. 7 F.3d

  1130, 1134(4th Cir. 1993)). A complaint establishes facial plausibility "once the factual content

  of a complaint allows the court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged." Nemet Chevrolet. Ltd. v. Consumeraffairs.com. Inc.. 591 F.3d 250,256(4th

  Cir. 2009)(quoting Iqbal. 556 U.S. at 678). Therefore, the complaint need not include "detailed

  factual allegations" as long as it pleads "sufficient facts to allow a court, drawing on judicial

  experience and common sense, to infer more than the mere possibility of misconduct." Id

  Although a court must accept as true all well-pleaded factual allegations, the same is not true for

  legal conclusions. "Threadbare recitals of the elements of a cause of action, supported by mere

  conclusory statements, do not suffice." labal. 556 U.S. at 678.

         In deciding the motion, a court may consider the facts alleged on the face of the complaint

  as well as "'matters of public record, orders, items appearing in the record ofthe case, and exhibits

  attached to the complaint.'" Moore v. Flasstar Bank. 6 F. Supp. 2d 496, 500 (E.D. Va. 1997)

  (quoting 5A Charles A. Wright & Arthur R. Miller, Federal Practice & Procedure § 1357(1990)).

  The court may look to documents attached to the complaint and those incorporated by reference

  without converting a Rule 12(b)(6) motion into a Rule 56 motion for summary judgment. See

  Pueschel v. United States. 369 F.3d 345, 353 n.3 (4th Cir. 2004)(citations omitted); see also

  Goines v. Vallev Cmtv. Servs. Bd.. 822 F.3d 159, 166 (4th Cir. 2016)(observing that the court
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  may consider a document attached to a motion to dismiss "that was not attached to or expressly

  incorporated in a complaint, so long as the document was integral to the complaint and there is no

  dispute about the document's authenticity.").

                    IV.      MOTIONS TO DISMISS BASED ON RICO VIOLATIONS


       A. Factual Allegations'*

                                          i.       Rent-A-Tribe Conspiracy

           Plaintiffs allege that a conspiracy began in or around 2009 when Curry began working with

  the Tribe to perpetuate a "rent-a-tribe" scheme. Am.|
                                                      Compl. 81. Plaintiffs claim that the "rent-

  a-tribe" scheme arose as federal regulators began cracking down on "rent-a-bank" schemes, in

  which payday lenders would associate with federal banks to charge higher interest rates on loans

  issued to out of state borrowers. Id.            78-80. While the bank would be listed as the "lender" the

  payday lender would control all substantive lending functions.^ Id ^ 79.

           a.       MacFarlane Group, American Web Loan, Inc., AWL, Inc. and Sol Partners

           As alleged in the complaint, MacFarlane Group is an entity that was wholly owned by

  Mark Curry until it was "acquired" by a tribal entity named Red Rock. Id ^ 18, 20. Sol Partners

  is a Puerto Rican company owned by Curry that provided "the necessary funding for the operation

 [of AWL]with their own capital and capital raised from other investors that were unaffiliated with

  the Tribe." Id H 21. Curry used a slide show (the "Geneva Roth Presentation") to illustrate the

  rent-a-tribe structure to potential Native American tribes and investors. Id ^ 85. At the top of a


  ^ "In considering a motion to dismiss, [the Court] accept[s] as true all well-pleaded allegations and view[s] the
  complaint in the light most favorable to the plaintiff." Venkatraman v. REI Svs.. Inc.. 417 F,3d 418, 420 (4th Cir.
  2005)(citing Mvlan Labs.. Inc. v. Matkari. 7 F.3d 1130, 1134(4th Cir.1993)). The Court cautions, however, that the
  facts alleged by Plaintiff are recited here for the limited purpose ofdeciding the instant Motion to Dismiss. The recited
  facts are not factual findings upon which the parties may rely for any other issue in this proceeding.

  ^ One of Curry's former entities "LoanPoint USA" allegedly engaged in such a scheme with a bank in the State of
  Utah. Am. Compl. ^ 80.
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  slide titled "Proposed Corporate Structure" is a heading that says "Mark Curry, CEO 100%

  Ownership or Control" beneath which is a structure listing several Curry owned entities as

  providing funding for the American Web Loan Tribal entity, who sells loans back to the Curry

  entities after 14 days. Id     86-87. An exact date for the Geneva Roth Presentation is not given;

  however, Plaintiffs cite to an article by Bloomberg News (the "Bloomberg Report") which

  indicates that the slide show was shown to the Tribe in 2009. Id ^ 88-89.

                        Hi.    Medley's Funding ofMacFarlane Group and Other Entities

         The Medley Defendants are comprised of five (5) separate corporate entities:(1) Medley

  Opportunity Fund II, LP (the "Medley Fund" or the "Fund"), a Delaware limited partnership, id

  H 25;(2) Medley LLC, a Delaware corporation, id H 26;(3) Medley Capital Corp.("MCC"), a

  Delaware corporation,id f 27;(4) Medley Management, Inc.("MMI"), a Delaware corporation,

  id 1128; and (5) Medley Group, LLC("Medley Group"), a Delaware limited liability company,id

 12.

         Plaintiffs allege that Defendant Brook Taube,a resident of New York, and Defendant Seth

  Taube, a resident of California, co-founded Medley and exercise ownership and control over the

  Medley Defendants as "officer[s], director[s], and/or other controlling part[ies]." Id Hlj 35-37.^

  Plaintiffs further claim that the Medley Defendants "share significantly overlapping management

  personnel . . . hold themselves out as part of a common corporate family or as otherwise

 functionally and operationally indistinguishable from one another." Id. K 30.




 ^ The Taubes are Managing Partners ofthe Medley Fund and members ofthe Fund's Investment Committee. Am.
 Compl. Tf 25. In a recent Form 10-K filing signed by the Taubes, they are also listed as "Co-Chief Executive
 Officers and Co-Chairmen" of Medley LLC,"Chief Executive Officer and Chairman" and "Director" of MCC,and
 "Co-Chief Executive Officers and Co-Chairmen" of MMI. Id 26-28. The Taubes also wholly own Medley
  Group LLC. Id ^ 29.
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           In 2011,the Medley Fund provided an initial $22.9 million loan to MacFarlane Group and

  has continued to provide backing for Curry's entities. Id H 96. According to state filings, Medley

  Defendants have a secured interest in most ofthe Curry entities(the "Geneva Roth Entities") listed

  in the Geneva Roth Presentation.^ Id             43-49, 86. Each ofthe Geneva Roth Entities also shared

  the same principle place of business as MacFarlane Group before it was purchased and merged

  into AWL,Inc. in 2016. Id             43-49.

                                      zv.      Alleged Control Exercised by Medley

           Plaintiffs allege that Medley Defendants identified its $22.9 million investment in

  MacFarlane Group as an investment in an "Online Consumer Finance Platform" in a presentation

  to Medley Fund investors. Id 1(^98-99. Plaintiffs claim that the presentation shows that Medley's

  investment process begins with "extensive evaluation, monitoring, and oversight" and "gaining a

  full understanding of the investment through the underwriting process, which includes review of

  business plans, financial, industry, legal, credit and regulatory analysis." Id H 100. They also

  allege that Medley engages in "extensive ongoing monitoring" for risk management purposes. Id

  f 101. This risk management includes "weekly calls with its borrowers, review of financial

  statements and cash reconciliation on a monthly bases and quarterly on-site visits." Id Plaintiffs

  provide a copy of a slide from the personation illustrating Medley Fund's account management

  process. Id H 103. The slide indicates that Medley's account monitoring process employs a

  "hands-on" approach which includes "frequent interaction with management, attending board of

  directors' meetings, consulting with industry experts, working with third-party consultants and

  developing portfolio company strategy with equity investors." Id




'In addition to the entities on the slideshow, Medley Fund allegedly has secured interests several other entities either
  owned by or associated with Curry. Each ofthese entities are alleged to share the same address as MacFarlane Group.
  See Am. Compl.      43-71.

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                V. Medley's Alleged Knowledge ofthe Illegal Nature ofthe Scheme

        During the process of obtaining funding from investors, Plaintiffs allege that one investor

  walked away from a deal with MacFarlane Group because of"concerns about the nature of the

 loans being made by MacFarlane Group through American Web Loan," after which time "Medley

 Defendants stepped in to provide the necessary financing to MacFarlane Group and/or [AWL]."

 Id 1(109. In 2013, a Medley Fund investor sent an e-mail requesting an explanation as to why it

 appeared Medley was "giving a reasonable loan to[AWL]which is charging an unreasonable rate

 [to the customer]," to which Seth Taube responded. Id K 110.

                             vz. Involvement ofGOLDPoint Systems

        In 2014, GOLDPoint entered into a contract to provide website services to AWL. Id

 K 111-12. The contract states that website content "shall be subject to approval by [GOLDPoint]

 and "allows potential customers to apply for loans and submit information in connection with the

 loan application process ...[and] an account portal for customers to review their loan balances,

 make payments, and perform other loan-related functions." Id In addition to setting up the

 website, GOLDPoint's systems generate reports and loan-related data for MacFarlane Group. Id

 K 112. According to the contract, the pricing schedule for GOLDPoint's services depends on the

 "volume ofloans originated and the number ofactive loan accounts, including per application and

 per-closed loan fees, monthly fees based on the numbers of accounts." Id After the 2016 merger

 of MacFarlane Group into Red Stone, the contract was reassigned to AWL, Inc. Id K 113.

 Plaintiffs allege that GOLDPoint is guilty of "providing the technology, systems, and services

 necessary to enable the [AWL]online payday lending scheme to collect unlawful debts through,

 among other things, the online interfaces and payment systems used by consumers." Id K 114.
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                               v//. Middlemarch Partners Involvement

         Middlemarch is a merchant banking firm. Id H 23. In 2013, Middlemarch helped
  MacFarlane Group prepare a slide show MacFarlane Group showed to potential investors (the

  "Middlemarch Presentation"). Id ^ 93. The Middlemarch Presentation was provided to various

  hedge funds, private equity firms, and other potential investors to raise funding for the lending

  scheme. Id fl 92-95. The slide show showed that loans between $500 and $1400 had to repaid

  within zero to six (0-6) months at an interest rate of 500-700%, and loans greater than $1400 had

  to be repaid within six to eighteen (6-18) months at an interest rate of 200-600%. Id ^ 94.

  Middlemarch is alleged to have assisted Curry in preparing another solicitation in 2017, which

  sought investments of up to $90 million to "refinance and expand [the American Web Loan payday

  lending scheme's] $45 million debt facility" to "double or triple its loan portfolio size over the

  next three to four years." Id ^ 108.

     B. Count One: Collection of Unlawful Debt Under RICO

         The Racketeer Influenced and Corrupt Organizations Act("RICO") makes it unlawful for

  any person "employed by or associated with any enterprise engaged in ... interstate or foreign

  commerce to conduct or participate ... in the conduct ofsuch enterprise's affairs through a pattern

  of... collection of unlawful debt." 18 U.S.C. § 1962(c). RICO also makes it unlawful to conspire

  with a person "employed by or associated with an enterprise" to participate in the enterprise's

  affairs through the collection of unlawful debt. 18 U.S.C. § 1962(d). To establish a claim under

  RICO,a plaintiff must allege:

         [TJhere was a RICO enterprise, (2) its activities affected interstate commerce, (3) the
         individual defendants were employed by or associated with the enterprise, (4) the
         [defendants] used, in the operation ofthe enterprise, income derived from the collection of
         unlawful debt,...(5)the individual defendants participated in the conduct ofthe affairs of
         the enterprise through collection of unlawful debt... within the meaning of RICO,...(6)
         the debt was unenforceable in whole or in part because of state or federal laws relating to


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           usury,(7) the debt was incurred in connection with the business of lending money at a
           usurious rate, and (8)the usurious rate was at least twice the enforceable rate.

  Dillon V. BMP Hams Bank.N.A.. 16 F. Supp.3d 605,618(M.D.N.C.2014)(alteration in original)

  (quoting Durante Bros. & Sons. Inc. v. Flushing Nat'l Bank. 755 F.2d 239, 248 (2d Cir. 1985)).

  Before the Court addresses whether any defendants have conspired with an individual to

  participate in a RICO enterprise, there must first be an underlying violation of RICO. In Count

  One Plaintiffs allege that AWL, Curry, Sol,^ Medley and the Taubes directly engaged in the

  collection of unlawful debt in violation of the RICO. Id             209-22.

          Medley Defendants and AWL make the following arguments in support of their Motions

  to Dismiss Count One of the Amended Complaint: 1) Medley Defendants and AWL argue that

  Plaintiffs have failed to allege a separate RICO enterprise; 2)AWL Defendants argue that Plaintiffs

  have failed to allege that there was an unlawful debt; and 3) Medley Defendants argue that

  Plaintiffs have failed to show that Medley associated with the RICO enterprise, participated in the

  conduct or affairs of the enterprise, or were the proximate cause of Plaintiffs' alleged injuries.

                                         /.       The RICO Enterprise

          "[T]o establish liability under § 1962(c) one must allege and prove the existence of two

  distinct entities:(1)a 'person'; and(2)an 'enterprise' that is not simply the same 'person' referred

  to by a different name." Cedric Kushner Promotions. Ltd. v. King. 533 U.S. 158, 161 (2001).

  Thus,"liability depends on showing that the defendants conducted or participated in the conduct

  of the 'enterprise's affairs.' not just their own affairs." Mvers v. Lee. 2010 WL 3745632, at *3

  (E.D. Va. Sept. 21, 2010)(citing Reves v. Ernst & Young. 507 U.S. 170, 185 (1993))(emphasis

  in original). Under RICO a "person" is defined as "any individual or entity capable of holding a



  * As Defendants Curry and Sol have joined AWL's arguments in support oftheir motion to dismiss for failure to
  state a claim, as referenced in this Order, any reference to "AWL" or"AWL Defendants" also refers to Defendants
  Curry and Sol.

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  legal or beneficial interest in property." 18 U.S.C. § 1961. And, an "enterprise" is defined as an

  "individual, partnership, corporation, association, or other legal entity, and any union or group of

  individuals associated in fact although not a legal entity." 18 U.S.C. § 1961(4). An association-

  in-fact enterprise "is simply a continuing unit that functions with a common purpose." Bovle v.

   United States. 556 U.S. 938, 948 (2009); see also Chambers v. King Buick GMC. LLC. 43 F.

  Supp. 3d 575, 589(D. Md. 2014)(citing United States v. Turkette. 452 U.S. 576, 583 (1981)).

  The term "association in fact" is broad and has a wide reach, encompassing "any ... group of

  individuals associated in fact." Id at 944 (internal quotations and citations omitted)(emphasis in

  original). "[A] defendant can ... be a person under the statute and also be part of the enterprise.

  The prohibition against the unity of person and enterprise applies only when the singular person

  or entity is defined as both the person and the only entity comprising the enterprise." United States

   V. Goldin Indus.. Inc.. 219 F.3d 1271,1275(11th Cir. 2000)(emphasis in original!: see also Cedric

  Kushner Promotions. Ltd.. 533 U.S. at 164 (noting that it is difficult to speak of a corporation as

  "employed by" or "associated with" an enterprise where "a corporation [is] the 'person' and the

  corporation, together with all its employees and agents, were the 'enterprise.').

          Plaintiffs argue that the Amended Complaint alleges "an association-in-fact enterprise

  comprised of the RICO Defendants [those individuals named in Counts One and Two], other

  Defendants in this action, and a number of non-Defendant individuals and entities." Doc. 110 at

  32. Further, Plaintiffs contend that each entity is a separate person who "participate[s] in the

  affairs of the associated-in-fact enterprise, which itself is not a legal entity." Id at 32-33 (citing

  Bovle V. United States. 556 U.S. 938,953(2009))(internal quotations omitted).

          However, AWL and Medley Defendants claim that Plaintiff has failed to allege facts

  sufficient to support "showing an enterprise as a continuous unit that operates or functions in a



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   way distinct from the defendants themselves." Doc. 63 at 16 (citing Mvers. 2010 WL 3745632

  (E.D. Va. Sept. 21, 2010). In Mvers. the plaintiff alleged that "[the organizations'] component

   entities share officers and directors and are otherwise interrelated," Mvers. 2010 WL 3745632, at

   *3, and that the organization operated in a "top-down command and control... accomplished by

   defendants' acting through a series of interconnecting agency relationships, including . . . non-

   party participants." Id Under those circumstances, the Court found that plaintiff failed to allege

   a distinct RICO enterprise because "[tjhere[was]a complete overlap between the defendants,their

   alleged agents, and the enterprise" and there were no factual allegations in the complaint "that the

   affairs ofthe enterprise [were] any different from the affairs of the defendants." Id at *4.

          Plaintiffs aver that their case is distinguishable from Mvers. as "there is not complete

   overlap between the [defendants named in Counts One and Two]and the alleged enterprise." Doc.

   110 at 35. Plaintiffs point to the non-defendant entities and individuals and argues that the actions

   of each defendant show they were not simply engaged in "their own affairs" but were separately

   engaged specifically to associate with the RICO enterprise. Doc. 110 at 35. In support. Plaintiffs

   cite Chambers v. King Buick QMS. LLC.43 F. Supp. 3d 575, 590(D. Md. 2014). The court in

   Chambers found that its case was distinguishable from Mvers because each defendant in its case

   was a separate incorporated entity, had its own business location and employees, and engaged in

   contractual or joint management activities. Id. at 590.

          This Court FINDS that the enterprise alleged in this case is more analogous to the

   enterprise alleged in Chambers and is distinguishable from the enterprise alleged in Mvers. Here,

   Plaintiffs have alleged that each of the defendants, as distinct entities, associated with each other

   and nonparties for the common purpose of exploiting the sovereignty ofthe Tribe to engage in the




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   practice ofissuing usurious loans. Plaintiffs cite several facts from their Amended Complaint that

   support this association:

           American Web Loan Inc. and/or AWL,Inc. serves as the nominal lender ofthe illegal loans
          taken out by Plaintiffs and Class members and was created for the purpose of facilitating
          the illegal lending scheme and shielding it from state and federal law. Am. Compl. HH 16,
          82, 85-86, 90, 93.

          Curry is the mastermind of the illegal lending scheme and continues to be in de facto
          control ofthe scheme's lending operations. Id. 17, 82, 84-86.

          The Medley Defendants provided, and continue to provide, financial backing to grow the
          illegal lending scheme. Id 25, 30, 96. The Medley Defendants also control and direct
          the scheme through weekly calls with MacFarlane, American Web Loan, Inc., and/or
          AWL, Inc., quarterly on-site visits, frequent interaction with management, and board
          meeting attendance. Id      97, 100-103. Moreover, as discussed in detail in connection
          with the Medley Defendants' participation in the affairs of the alleged enterprise ... the
          Medley Defendants' own exhibits attached to their motion papers make clear that the
          Medley Defendants (1) made their financing contingent on the existence, validity, and
          enforceability of critical agreements underlying the illegal lending scheme; (2) had
          authority over changes to any ofthose agreements;(3)restricted Curry-controlled entities,
          including MacFarlane, from engaging in lines of business outside the illegal lending
          scheme; and(4)required weekly reporting on the financial performance ofthe illegal loans
          at issue in this case.


          The Tribe served to enact and maintain certain tribal laws and create tribal business
          organizations, including American Web Loan, Inc. and AWL,Inc., in furtherance of the
          illegal lending scheme and to help shield the illegal lending scheme from federal and state
          law. Id 38, 83, 85-86, 88-90, 93. The Tribe did so in exchange for 1% of the proceeds
          from the illegal lending scheme. Id

   Doc. 110 at 34-35. Therefore, the Amended Complaint sufficiently alleges facts that support the

   identity of an enterprise separate and apart from the persons who take part in that enterprise.

                                      a. Collection of Unlawful Debt

          Under RICO an unlawful debt is defined, in relevant part, as a debt that is both: 1) unlawful

   under state or federal usury laws; and 2)that was incurred at a rate at least twice the state or federal

   usury rate. 18 U.S.C. § 1961(6).




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          AWL Defendants argue that the applicable law for determining whether the debt is

   unlawful is Otoe-Missouria tribal law, as each Plaintiff consented that tribal law would apply to

   his or her loan agreement. Defendants further claim that under Otoe-Missouria law the interest

   rates charged for Plaintiffs' loans are not usurious. Doc.79 at 4,14(citing Doc.79-7("2016 AWL

   Act") at 33, §1109). Because Plaintiffs' loans would not be considered usurious under tribal law.

   Defendants allege that Plaintiffs' Amended Complaint has failed to establish that AWL engaged

   in the collection of"unlawful debt." Id. at 14.


          Plaintiffs aver that whether they assented to the illegal interest rates "has no bearing

   whatsoever on establishing a RICO claim for collection of unlawful debt as a matter oflaw." Doc.

   110 at 25 (citing Lfnited States v. Biasucci. 786 F.2d 504, 513 (2d Cir. 1986)("[A]11 that RICO

   requires is proof that a debt existed, that it was unenforceable under [the applicable state's] usury

   laws, that it was incurred in connection with the business oflending money at more than twice the

   legal rate, that the defendant aided collection of the debt in some manner, and that the defendant

   acted knowingly, willfully and unlawfully."); Arrineton v. Colleen. Inc.. No. CIV. AMD 00-191,

   2000 WL 34001056, at *7(D. Md. Aug. 7, 2000)("The 'collection of unlawful debt' portion of

   section 1962(c) specifically targets loansharking and usurious lending.").

          Plaintiffs have alleged facts supporting a claim that the choice of law provisions within

   AWL's loan applications should not apply to Plaintiffs loans. Specifically, Plaintiffs claim that

   they were "not advised of any purported choice of law" provision and that the choice of law

   provisions are unconscionable as they "seek to disclaim the application of federal and state law

   and impose the law of the Tribe as the sole governing law." Am. Compl.          138, 148, 160, 170,

   186. Plaintiffs allege that the choice oflaw provisions were not disclosed to them before agreeing

   to the provisions, which supports an argument that the choice of law provisions would not apply.



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   Their legal argument of unconscionability is supported by citing language within the loan

   agreement which purportedly disclaims the application of federal and state law in favor of Tribal

   law. Id K 188. Further, the complaint clearly provides allegations that each loan was more than

   two times the interest applicable under each state's law.       Am. Compl.       145, 158, 168, 184

  (alleging that respective loans were 60 times greater than the maximum allowed under Virginia

   law, 37 times greater than the maximum allowed under Nebraska law, 50 times greater than the

   maximum allowed under South Carolina Law, and 48 times greater than the maximum allowed

   under California law). As such, the Court FINDS that Plaintiffs' allegations of unconscionability

   are supported by facts in the complaint and Plaintiffs have alleged sufficient facts to satisfy the

   element that AWL Defendants,joined by Curry and Sol, engaged in the collection of unlawful

   debt.


                                     Hi. Association with RICO Enterprise

           Medley Defendants claim that, notwithstanding the existence of a distinct enterprise.

   Plaintiffs have failed to allege facts sufficient to support that they "associated with" the alleged

   RICO enterprise. Doc. 63 at 17. Specifically, Medley Defendants argue that Plaintiffs failed to

   provide factual allegations to support Medley's "role in the enterprise's functioning as a continuing

   unit," how they "participated in the enterprise's affairs rather than their own," or how they were

  "acting outside of the scope of their typical business affairs." Id. at 17-18 (emphasis in original)

  (citing Turkette. 452 U.S. at 583; Reves. 507 U.S. at 185; Levinson. 2006 WL 3337419 at *7).

   And,even if Plaintiffs could show such an association. Medley alleges that there is nothing linking

   Medley with Plaintiffs at the time that any unlawful debt was allegedly collected from Plaintiffs.

   Id. at 18 (citing Palmetto State Med. Ctr.. Inc. v. Operation Lifeline.. 117 F.3d 146, 148-49

  (dismissing RICO complaint, in part, "because there is no evidence these defendants conducted



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   any of[the enterprise's] affairs whatsoever on the dates in question"). Medley also alleges that

   Plaintiffs' complaint impermissibly accuses Medley as a whole, when only one of their entities,

   Medley Fund, ever loaned money to Curry's entities. Doc. 63 at 17-18.

          Plaintiffs respond by arguing that acts done in furtherance of an unlawful scheme in

   violation of RICO cannot be deemed "ordinary or normal business activities," even if those

  "activities may seem legitimate on the surface." Doc. 110 at 39(quoting Levine v. First Am.Title

   Ins. Co.. 682 F. Supp. 2d 442, 461 (E.D. Pa. 2010); Mitchell Tracev v. First Am. Title Ins. Co..

  935 F. Supp. 2d 826,844(D. Md.2013)(holding title insurance company and agents' activities in

  furtherance ofscheme to charge title insurance premiums in excess ofthat allowed under state law,

   in violation of RICO,"are not conducted in the ordinary course of business")).

          When viewed in the light most favorable to Plaintiffs, the Amended Complaint alleges

   sufficient facts to support a reasonable inference that Medley Defendants intended to associate

   with the unlawful enterprise. Plaintiffs' complaint alleges that Medley Fund provided its $22.9

   million investment to grow the illegal lending scheme despite another potential investor backing

  out, and that Medley continued funding American Web Loans even after a Medley investor raised

  concerns directly to Brook and Seth Taube about American Web Loans "charging an unreasonable

  rate." Am.Compl.      109-10. Plaintiffs' Amended Complaint also refers to a "Credit Agreement"

  that was entered into between American Web Loans Holdings("AWLH")and Medley Fund. Id

  ^ 64. The Credit Agreement is dated December 22, 2011, and as a condition precedent to closing

  the Loan, Medley Fund required that it be provided with the"AWL Documents" which are defined

  as:



         [Tjhe AWL Loan and Security Agreement, the AWL Software Agreement, the AWL
         Service Agreement, the AWL Participation Agreements, the AWL Controlled Account
         Agreements, the AWL Termination Agreement, the AWL Promissory Note, the AWL
         Loan Purchase Agreement, and the Cash Advance Agreements.


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   Doc.65-2 at 88.^ As defined in the credit agreement"AWL" was understood to mean "American

   Web Loan Inc." which is the first entity that was ever incorporated by the Tribe. Id Plaintiffs

   also point to the number of Curry entities in which Medley invests, and the fact that Medley

   Defendants continue to have security interests in those entities.'® Several of the entities in which

   Medley Defendants have security interests are entities that agreed to provide "Choice of Law"

   loans to fund American Web Loan, Inc. Am. Compl.                     44-49.

           Considering those facts. Plaintiffs' arguments are persuasive that "while the Medley

   Defendants' acts in furtherance of the illegal lending scheme might overlap with those in

   furtherance oflawful enterprises, or otherwise seem legitimate on the surface, when they are aware

   of and contribute to [a scheme that violates RICO], they cannot argue that they have a routine

   commercial relationship." See Doc. 110 at 41 (citing In re Duramax Diesel Litie.. 17-cv-11661,

   2018 WL 949856, at *31 (E.D. Mich. Feb. 20, 2018)). The facts regarding Medley's continued

   security interest in Curry entities that fund the lending scheme support a reasonable inference that

   Medley has continued to fund Curry's participation in the lending scheme.

           Finally, although Medley Fund was the only Medley entity named in the Credit Agreement,

   Plaintiffs' Amended Complaint alleges that the management of the Medley Defendants is

   overlapping,and that the Taubes serve in various leadership positions within Medley. Am. Compl.

      25-29. Therefore, Plaintiffs have alleged facts which support that Medley and the Taubes can

   be held accountable as a unit for the activities engaged in by each separate entity.



 'Medley Defendants attached the credit agreement in support of their Motion to Dismiss. As the Credit agreement
  is incorporated by reference in Plaintiffs Complaint, the court may look to documents attached to the complaint and
  those incorporated by reference without converting a Rule 12(b)(6) motion into a Rule 56 motion for summary
  judgment. See Pueschel v. United States. 369 F.3d 345,353 n.3 (4th Cir. 2004)(citations omitted).
     Plaintiffs allege that there are thirty-two(32)entities total, and while Medley Defendants allege that the loans
  were paid off in 2015, Plaintiffs allege that Medley still has a secured interest in at least sixteen (16)Curry entities
  as ofthe date ofthe amended complaint. Doc. 110 at 47; Doc. 65-1 ("Fredericks' Deck").

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                      zv.   Participation and Conduct ofthe Enterprise's Affairs

           "[T]o conduct or participate, directly or indirectly, in the conduct of such enterprise's

  affairs [under RICO]one must participate in the operation or management ofthe enterprise itself."

  Reves v. Ernst & Young. 507 U.S. 170,185,113 S. Ct. 1163,1173, 122 L. Ed. 2d 525 (1993).

           Medley Defendants next argue that the complaint fails to allege facts that show that the

  Medley Defendants or the Taubes directed the affairs of American Web Loans. Doc. 63 at 19. In

  support. Medley Defendants cite NCNB Nat. Bank of N. C. v. Tiller. 814 F.2d 931, 936(4th Cir.

  1987), overruled on other grounds bv Busbv v. Crown Supply. Inc.. 896 F.2d 833(4th Cir. 1990).

  In NCNB Nat. Bank,the Fourth Circuit noted that:


           The normal incidents of a borrower-lender relationship, including monitoring, protection
           and disposition of collateral, do not amount to control. Actual dav-to-dav involvement in
           management and operations ofthe borrower or the ability to compel the borrower to engage
           in unusual transactions is required for the purposes of showing that a lending institution
           had control over a borrower.



  NCNB Nat. Bank. 814 F.2d at 936 (emphasis added); see also Farm v. NatM Bank of Cal.. N.A..

  242 F. Supp. 3d 1321, 1346 (N.D. Ga. 2017); Berrv v. Deutsche Bank Tr. Co. Am.. No. 07 Civ.

  7634(WHP),2008 WL 4694968, at *6(S.D.N.Y. Oct. 21, 2008).

           Medley Defendants argue that Plaintiffs have not otherwise shown that they "participated"

  in the RICO enterprise by "merely extending credit" or by retaining "a first lien security interest"

  because they do not "participate in the operation or management of the enterprise itself." Doc.63

  at 20.


           The Credit Agreement between Medley Defendants and American Web Loan Holdings,

  LLC,("AWLH")supports Plaintiffs' factual allegations that Medley Defendants went beyond the

  normal incidents of a borrower-lender relationship and sought to be engaged in the day-to-day

  involvement in management and operations of the borrower. As a condition precedent to issuing

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  its loan. Medley required AWLH to provide the"AWL Documents" which outlined "the existence,

  validity, and enforceability ofvarious critical agreements that underlie the illegal lending scheme."

  See Doc. 110 at 50.


         The Credit Agreement also required AWLH to provide Medley with notice "of any (i)

  amendments,consents, waivers or modifications by any party to any AWL Documents,(ii) default,

  event of default or any other breach under any AWL Document, (iii) the termination of any

  agreement contained in any AWL Document,(iv) dissolution or termination of the AWL entity,

  or (v) any notices received under any AWL Document." Doc. 110 at 51 (internal quotations

  omitted); Doc. 65-2 at 39. Further, an event of default under the Credit Agreement takes place

  when "[a]ny AWL Document... for any reason, ceases to be in full force and effect, or any party

  thereto contests in any manner the validity or enforceability of any AWL Document, or any party

  denies that it has any or further liability or obligation thereunder, or purports to revoke, terminate

  or rescind any AWL Document." Doc. 65-2 at 61. The Curry affiliates were also required to

  indemnify Medley for any loss associated with "any investigation or proceeding ... arising out of

  or in connection with ... any of the AWL Documents." Id. at 62. The agreement also forbids

  "the charter, by-laws or other organizational documents of a [Curry Affiliate] or any Subsidiary

  [from being] amended or modified in any way which could reasonably be expected to adversely

  affect the interests of[MOFII] without the prior written consent of[MOFII]." Id at 58.

                              V. Proximate Cause ofPlaintiffs'Injuries

         Finally, Medley Defendants argue that Plaintiffs have failed to allege facts sufficient to

  show that they are the proximate cause of Plaintiffs' injuries. Doc. 63 at 10. Proximate cause

  "requires some direct relation between the injury asserted and the injurious conduct alleged.'"

  Hemi Group. LLC v. Citv of New York. 559 U.S. 1,9(2010)(quoting Holmes v. Sees. Inv'r Prot.



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  Corp.. 503 U.S. 258,268 (1992)). In Hemi.the city ofNew York (the "City")attempted to sue an

  out-of-state cigarette distributor for failing to report required customer information with the State.

  Hemi.559 U.S. at 4. The City alleged that the distributor's failure to report customer information

  led to the City's loss of revenue. Id The Supreme Court noted that "[t]he general tendency ofthe

  law, in regard to damages at least, is not to go beyond the first step." Hemi Grp.. LLC v. City of

  New York. N.Y.. 559 U.S. 1, 10, 130 S. Ct. 983, 989, 175 L. Ed. 2d 943 (2010). Medley

  Defendants contend that their role bears "no direct, first-step relation to Plaintiffs' alleged injury,"

  as they did not collect usurious interest from Plaintiffs.

          Plaintiffs concur that in determining whether a RICO plaintiff has alleged proximate cause,

  "[t]he 'central question'" in this Circuit "is whether the plaintiffs' injuries were the direct result of

  the alleged predicate act." Doc. 110 at 58 (citing Walters v. McMahen. 684 F.3d 435, 444 (4th

  Cir. 2012)); see also Busbv v. Crown Sunnlv. Inc.. 896 F.2d 833, 840 (4th Cir. 1990)("[T]he

  inquiry is not whether the plaintiff has alleged a direct or indirect injury, but rather whether he or

  she has alleged an injury that 'flows from' the predicate acts."); Angermeir v. Cohen. 14 F. Supp.

  3d 134, 149(S.D.N.Y. 2014)(a plaintiff"need allege only that each defendant... participated in

  the scheme and could reasonably foresee that" the alleged predicate acts would be committed "in

  furtherance ofthe same"(quotation omitted)).

          Here, Plaintiffs have alleged that Medley Defendants' participated in extensive ongoing

  monitoring and rigorous oversight regarding its loan to AWLH. As indicated above, Plaintiffs'

  allegations support that Medley's monitoring included a thorough knowledge of the lending

  scheme between AWLH and American Web Loan, and sufficient control over AWLH's

  relationship with American Web Loan, Inc. For instance. Plaintiffs alleged that a board member

  of Medley's California Fund e-mailed Medley on May 7, 2013, and said, "[i]t appears we are



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  giving a reasonable loan to group which is charging an unreasonable rate." Am.Comp.If 110. Such

  facts tend to show that Medley Defendants' actions serve as a direct and foreseeable cause of

  Plaintiffs' injuries. Plaintiffs would not have been subjected to the allegedly usurious loans if

  Medley did not incentivize the profitability ofthose loans. This is equally true for the members of

  the putative class; as Plaintiffs' Amended Complaint alleges, the putative class includes "[a]11

  persons who took out loans from American Web Loan . . .[and]through the American Web Loan

  d/b/a entity known as Clear Creek Lending. The Class period begins on February 10, 2010 and

  continues through the present." Id.|f 198.

      C. Count Two: RICO Conspiracy

         In Count Two Plaintiffs allege that the AWL, Curry, Sol, the Medley Defendants, the

  Taubes,GOLDPoint,and Middlemarch engaged in a RICO conspiracy. Id             223-27. Defendants

  Middlemarch, GOLDPoint, and Medley each allege that Plaintiffs' complaint has failed to

  establish the requisite knowledge of the criminal activity.

                                     i.        Standardfor Conspiracy

         "A conspiracy may exist even if a conspirator does not agree to commit or facilitate each

  and every part of the substantive offense." Salinas v. United States. 522 U.S. 52, 63 (1997).

  However, conspirators "must agree to pursue the same criminal objective." Id RICO does not

  "criminalize mere association with an enterprise." United States v. Mouzone. 687 F.3d 207, 218

  (4th Cir. 2012)(citations omitted). Instead, liability only attaches to "the knowing agreement to

  participate in an endeavor which, if completed, would constitute a violation of the substantive

  statute." ML (internal quotations and citations omitted). Accordingly,to prove a RICO conspiracy,

  two things must be established:"(1)that two or more people agreed to commit a substantive RICO

  offense and (2) that the defendant knew of and agreed to the overall objective of the RICO



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  offense." United States v. Posada-Rios. 158 F.3d 832, 857 (5th Cir. 1998); see also Hecht v.

  Commerce Clearing House. Inc.. 897 F.2d 21, 25 (2d Cir. 1990)("Because the core of a RICO

  civil conspiracy is an agreement to commit predicate acts, a RICO civil conspiracy complaint must,

  at the very least, allege specifically such an agreement."). Proof of an agreement to commit the

  overall objective ofthe RICO offense "may be established solely by circumstantial evidence." Id

                                           //.     Medley

          Medley Defendants allege that there is no evidence in Plaintiffs complaint which tends to

  show that they knew of, intended to, or agreed to provide funds to AWLH or Curry's entities "for

  the collection of unlawful debt." Doc. 63 at 27. Medley also argues that the actions of the

  individual Medley entities cannot be imputed on one another. Doc. 63 at 23.

         Similarly, Plaintiffs argue that there is circumstantial evidence that Medley Defendants and

  the Taubes knew of the RICO conspiracy and that they continued to provide funding in support of

  the conspiracy. Doc. 110 at 68 (citing United States v. Baker. 598 F. App'x 165, 170 (4th Cir.

  2015)(finding that "a single conspiracy may be shown by direct or circumstantial evidence that a

  defendant knew its essential object by demonstrating a tacit or mutual understanding between the

  defendants and other conspirators even where the connection is slight," and that an issue of

  multiple conspiracies arises "only in separate conspiracies unrelated to the overall conspiracy")

  (emphasis omitted); United States v. Tello. 687 F.3d 785, 793 (7th Cir. 2012) ("Ordinary

  conspiracy principles require only that the conspirators embrace a common criminal objective.").

         As noted above, the Court FINDS that Plaintiffs have alleged facts sufficient to support a

  reasonable inference that Medley Defendants knew ofthe unlawful nature of the RICO enterprise

  and agreed to further it.




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                                in.     Middlemarch and GOLDPoint

         Unlike Medley, Middlemarch's only connection to the RICO conspiracy is that it aided

  MacFarlane Group in preparing a slideshow for a presentation to investors. Am. Compl.          224-

  227. Middlemarch contends that this engagement is entirely consistent with lawful conduct in the

  typical relationship between its clients as a service provider. Doc. 78 at 12. Therefore,

  Middlemarch claims that Plaintiffs have failed to allege that Middlemarch-as a third-party service

  provider - purposefully and knowingly directed or facilitated the alleged criminal enterprise. See

  Smith V. Berg. 247 F.3d 532, 537 n.l 1 (3d Cir. 2001).

         Similarly, GOLDPoint argues that there are no facts in the complaint alleging that they

  knowingly pursed or intended to further endeavors that would constitute an unlawful objective.

  Doc. 82 at 13. As noted in the complaint, and shown in their software agreement, GOLDPoint's

  only connection with the lending scheme is that they provided "software and software support

  services" to MacFarlane Group, who agreed to pay for those services." Id

         Plaintiffs argue that any such lack ofknowledge by Middlemarch is undermined by the fact

  that it helped prepare the details ofthe presentation, which show flow charts ofthe "essential rent-

  a-tribe" lending scheme. Doc. 110 at 64. For GOLDPoint, Plaintiffs point to the portions of

  GOLDPoint's agreement with AWLH that makes pricing contingent upon "the volume of illegal

  consumer loans originated and the number of active loan accounts, including certain per-

  application and per-closed loan fees." Doc. 110 at 73. Plaintiffs do not dispute that their

  allegations deal with GOLDPoint's services in this manner but allege that they "knowingly

  adopted the goal of furthering or facilitating the illegal lending scheme" by providing those

  services. Doc. 110 at 73.




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         The Court FINDS that these are insufficient allegations of an intent to agree to participate

  in a RICO scheme. As Middlemarch notes, the law requires Plaintiffs to allege facts showing that

  Middlemarch Partners "objectively manifested an agreement to participate directly or indirectly in

  the affairs ofthe enterprise" through the collection ofan unlawful debt and "had knowledge ofthe

  essential nature of the plan" of the conspiracy. Tillett. 763 F.2d at 632. The sole act of preparing

  a slideshow, the contents of which are unclear, may have been done as a regular part of

  Middlemarch's business. Similarly,the Court FINDS that Plaintiffs' allegations as to GOLDPoint

  fall short of alleging the requisite knowledge of the criminal scheme. Unlike Medley, it appears

  that GOLDPoint was acting within the scope ofan agreement to provide website services and there

  are no facts that show GOLDPoint had knowledge of or agreed to engage in the practice of aiding

  the allegedly unlawful issuance of AWLH's loans.

         Accordingly, the Court GRANTS Middlemarch and GOLDPoint's Motions to Dismiss as

  to Count Two. It further GRANTS Plaintiffs leave to further amend their complaint if they do so

  within ten(10)days of this order.

                 V.      MOTION TO DISMISS COUNT THREE: EFTA CLAIMS

         In Count Three Plaintiffs allege that the AWL Defendants, Curry, Sol, Medley,the Taubes,

  and GOLDPoint violated the Electronic Funds Transfer Act ("EFTA") by conditioning the

  extension of a line of credit upon the consumer's repayment by means of preauthorized electronic

  fund transfers. Am. Compl.       228-43.

     A. EFTA


         The EFTA provides, in relevant part, that "no person may ... condition the extension of

  credit to a consumer on such consumer's repayment by means of preauthorized electronic fund

  transfers." 15 U.S.C. § 1693k.



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      B. Arguments

                                         /.      AWL, Curry, Sol

          AWL Defendants argue that Plaintiffs have failed to state a claim under the EFTA because

  Plaintiffs fail to allege facts sufficient to support the allegation that their receipt of credit was

  conditioned upon agreeing to accept electronic funds transfers for repayment ofloans. Doc. 79 at

  17. As such, AWL Defendants argue that there is no violation of the EFTA. In support, AWL

  Defendants cite portions of the complaint which acknowledge that borrowers had "the option to

  receive their loan payments promptly via wire transfer" or "via paper check." Id; Am. Compl.

     238, 239. AWL Defendants also dispute Plaintiffs' arguments that they violated the EFTA

  because such options were "slower" than an electronic funds transfer, making them meaningless

  alternatives.

         Plaintiffs argue that the terms oftheir loan agreements, including any funding and payment

  options, were not disclosed to them before agreeing to accept the loan. Doc. 113 at 15. Plaintiffs

  urge the Court to find that AWL Defendants violated the EFTA as alleged: that Plaintiffs were not

  given meaningful alternatives other than an electronic funds transfer because that was "the only

  way for a person to obtain the needed funds quickly." Doc. 113 at 16. Plaintiffs cite Gingras v.

  Rosette. 2016 WL 2932163 at *24(D.Vt. May IS, 2016)in support oftheir argument. In Gingras.

  the plaintiffs alleged that "the choice offered to consumers between funding 'as soon as the next

  business day' which [was] conditioned on electronic fund authorization and the much longer

  process offered for people electing to pay by mail [was] a false choice." Gingras. 2016 WL

  2932163 at *24. The defendants moved to dismiss the EFTA claim and the court denied the

  motion, stating:

         It is possible that Plaintiffs are correct that Defendants have so obstructed the choice of
         repayment by check with delay ("up to 7 to 10 days" plus the expiration of a "right of

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         rescission")that the option is a false choice. Given the nature ofthe loan itself—immediate
         cash at very high interest rates—it seems unlikely that Defendants ever funded a loan to
         any borrower with repayment by check. It remains for discovery and for fact-finding to
         determine if the loan agreement is drafted so as to skate around the restrictions of EFTA.

  Id.(also citing Dave v. Cmtv. Fin. Serv. Centers. LLC.233 F. Supp. 3d 946, 969(D.N.M. 2017)

  (finding that the lender violated the EFTA by making electronic funds transfer the default method

  of payment.); F.T.C. v. PavDav Fin. LLC. 989 F. Supp. 2d 799, 808 (D.S.D. 2013)("All of the

  Defendants who issued loans used loan agreements that contained clauses authorizing electronic

  fund transfers("EFT")from consumer accounts to repay loans ... Many ofthose loan agreements

  allowed consumers to opt out ofthe EFT authorization.")).

         The Court FINDS that Plaintiffs have alleged sufficient facts to support their EFTA claims.

  Plaintiffs have alleged that the borrowers did not have access to their loan agreements until after

  they accepted the loan agreements. Therefore,any alleged meaningful alternatives would not have

  been known by them. Accordingly, the Court DENIES AWL's motion to dismiss Plaintiffs'

  EFTA claim.


                                         ii.     GOLDPoint


         Plaintiffs allege that GOLDPoint has violated the EFTA by providing a "lending suite that

  facilitates online loan originations, loan servicing, collections, accounting, reporting and

  marketing." Am. Compl. ^ 22. GOLDPoint argues that Plaintiffs have failed to state a claim

  against them because Plaintiffs do not allege that GOLDPoint had any knowledge of the terms of

  the loans issued to Plaintiffs. Further,the agreement between AWL(formerly, MacFarlane Group)

  and GOLDPoint shows that GOLDPoint was merely a software provider. Doc. 82 at 14.

         Additionally, GOLDPoint contends that Plaintiffs' complaint fails to allege that

  GOLDPoint "in fact conditioned the extension of credit to a consumer on the consumer's

  repayment by means of preauthorized electronic fund transfers." Id Accordingly, GOLDPoint

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  urges the Court that it should not interpret the language of 15 U.S.C. § 1693k to extend so broadly

  as to encompass a passive service provider. Id.

         The Court finds GOLDPoints' arguments persuasive. Accordingly, the Court GRANTS

  GOLDPoints' Motion to Dismiss Plaintiffs' EFTA claims, but GRANTS Plaintiffs leave to amend

  their complaint if they do so within ten (10) days of this order.

                              Hi.     Medley Defendants and the Taubes

         Similarly, Medley argues that the EFTA claims against it cannot survive because Plaintiffs

  have not alleged that Medley Defendants directly issued any credit to the consumer. Rather, they

  urge that the issuance of credit was made by American Web Loan. Doc. 63 at 28 (citing Central

  Bank of Denver. N.A. v. First Interstate Bank of Denver. N.A.. 511 U.S. 164, 175-77 (1994)).

         In response, Plaintiffs argue that Medley should be liable directly as a "financial

  institution" under the EFTA. The EFTA defines a financial institution as "a bank, savings

  association, credit union, or any other person that directlv or indirectlv holds an account belonging

  to a consumer, or that issues an access device and agrees with a consumer to provide electronic

  fund transfer services." Doc. 113 at 19(citing 12 C.F.R.§ 1005.2(i))(emphasis added). Therefore,

  Plaintiffs allege that Medley is implicated not because they "aided and abetted" but because they

  controlled and manipulated the scheme.

         As noted in Medley Defendants' Motion to Dismiss for failure to allege a claim for

  collection of unlawful debt under RICO,Plaintiffs have alleged sufficient facts to demonstrate that

  Medley participated in the conduct ofthe RICO enterprise, which supports a reasonable inference

  that they indirectly held the accounts belonging to Plaintiffs. Therefore, the Court DENIES

  Medley's Motion to Dismiss the EFTA claim.




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     VI.       MOTION TO DISMISS COUNTS FOUR THROUGH EIGHT: TILA CLAIMS

           The TILA requires, in relevant part, that a creditor "clearly and conspicuously" disclose

   1)the "annual percentage rate and finance charge more conspicuously than other terms, data, or

   information provided in connection with a transaction;" 2)the identity of the creditor who is

   required to make the disclosure; 3)the total number of payments; 4)the schedule of payments;

   and 5)that any required disclosures be made before credit is extended. 15 U.S.C. §§ 1632(a),

   1638(a)-(b).

           Counts Four through Seven allege that AWL violated TILA by not disclosing particular

   information before extending credit to the named plaintiffs—specifically, the applicable finance

   charge (Count Four), the finance charge expressed as an annual percentage rate (Count Five), the

   total of payments (Count Six), and the schedule of payments (Count Seven). S^ Am. Compl.

     248, 254, 260, 266. Particularly, Plaintiffs allege throughout their Amended Complaint that no

   plaintiff and the members of the class was not provided with or shown copies of their loan

   agreements until after they received their loans. Am.Compl.     134,139, 149,163,175,248,254,

   260, 266.

           AWL attempts to show that Plaintiffs have failed to state a claim under Counts Four

  through Seven of the TILA violations based on external evidence that the website contained a box

   which required Plaintiffs to assent that they had reviewed the terms of their loan agreement prior

  to signing their loan agreement. Doc. 79 at 5-6, 19.

           AWL's evidence regarding these claims creates a factual dispute, but it does not rebut the

  fact that Plaintiffs, by asserting that they were not provided copies of their loan agreements, have

  stated claims for relief under the cited portions of the TILA.




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          In Count Eight,Plaintiffs allege that AWL failed to disclose the "true creditor on the loans"

   because AWL was not the "lender in fact." A "creditor" is defined under the TILA as "the person

   to whom the debt arising from the consumer credit transaction is initially payable on the face of

   the evidence of indebtedness." 15 U.S.C. § 1602(g). AWL contends that Plaintiffs' allegation

   under Count Eight is contradicted by Plaintiffs' Amended Complaint, which alleges "Defendant

   AWL,Inc. is a 'creditor' for purposes of TILA." Doc. 79 at 20. AWL contends that Plaintiffs'

   theory that AWL had to disclose the identity of the "lender in fact"—the person who performed

   key lending functions—finds no basis in law. Id.

          To support their argument Plaintiffs cite Consumer Fin. Prot. Bureau v. CashCall. Inc.. No.

   CV 15-7522-JFW(RAOx),2016 WL 4820635,at *5(C.D. Cal. Aug. 31, 2016). In CashCall I the

   plaintiff alleged that defendants engaged in unfair practices under the Consumer Financial

   Protection Act.       CashCall 1. 2016 WL 4820635 at *4. In order to conduct its analysis, the

   Court had to determine who was the "true lender" or       facto lender" under the loan for purposes

   of establishing liability under the contract. Id In doing so, the court relied on the substance of a

   loan agreement, rather than its form. Id at *6(citing Ubaldi v. SLM Corp.. 852 F. Supp. 2d 1190,

   1196(N.D. Cal. 2012)(conducting an extensive review of the relevant case law and noting that,

  "where a plaintiff has alleged that a national bank is the lender in name only, courts have generally

   looked to the real nature ofthe loan to determine whether a non-bank entity is the de facto lender");

   Eastern v. Am. West Financial. 381 F.3d 948, 957 (9th Cir. 2004)(applying the de facto lender

   doctrine under Washington state law and recognizing that "Washington courts consistently look

   to the substance, not the form, of an allegedly usurious action"); CashCall. Inc. v. Morrisev. No.

   12-1274,2014 WL 2404300, at *14(W. Va. May 30,2014)(unpublished)(viewing the substance,

   not form,ofthe transaction to determine ifthe loan was usurious under West Virginia law); People



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   ex rel. Spitzer v. Ctv. Bank of Rehoboth Beach. Del.. 846 N.Y.S.2d 436, 439 (N.Y. App. Div.

   2007) ("It strikes us that we must look to the reality of the arrangement and not the written

   characterization that the parties seek to give it, much like Frank Lloyd Wright's aphorism that

  "form follows function.").

             Plaintiffs argue that AWL and AWL 11 serve as a nominal creditor as it receives only 1%

   of the revenues from the loans, and the actual lenders/creditors are Curry-controlled entities

   because they perform all substantive lending functions and bear the economic risk. Doc. 113 at

   14. Plaintiffs allege that the loans only remain with AWL for a period offourteen(14)days before

   they are "sold" to Curry's entities. Am. Compl. H 87.

          Accordingly, the Court FINDS that Plaintiffs have alleged sufficient facts to support their

   claim that the Curry-controlled entities are the lenders in fact and that AWL 11 is only a "nominal

  lender."


       VIL      MOTION TO DISMISS COUNT NINE: UNJUST ENRICHMENT CLAIM

      A. Legal Standard

           Unjust enrichment "rests upon the doctrine that a man shall not be allowed to enrich

   himself unjustly at the expense of another." Rosetta Stone Ltd. v. Google. Inc.. 676 F.3d 144,165

  (4th Cir. 2012)(quoting Kern v. Freed. 299 S.E.2d 363, 365 (Va. 1983)). A plaintiff asserting

  unjust enrichment must establish "(1)he conferred a benefit on [the defendant];(2)[the defendant]

  knew of the benefit and should reasonably have expected to repay [the plaintiff]; and (3)[the

  defendant] accepted or retained the benefit without paying for its value." Id at 165-66(applying

   Virginia law)(internal quotations and citation omitted).




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      B. Analysis

                                 I       A WL Defendants, Curry, and Sol

          AWL Defendants argue that the benefit conferred upon them was pursuant to a valid

  contract and therefore the unjust enrichment claims must fail. Doc. 79 at 21 (citing case law from

  each plaintiffs state indicating that where an express contract exists, an unjust enrichment claim

  cannot lie).

         AWL's argument is unavailing. As noted above, Plaintiffs have alleged sufficient facts

  challenging the validity of their contract with AWL that supports a cause of action against AWL

  for unjust enrichment. Additionally, it is clear that Plaintiffs have alleged facts sufficient to

  support a claim that they conferred a benefit on AWL,that AWL had knowledge that the benefit

  was being conferred on them, and that AWL accepted the benefit. The same arguments apply to

  Defendants Curry and Sol. Though Curry and Sol did not contract directly with plaintiffs, the

  Amended Complaint sufficiently alleges their involvement in the lending scheme.

                               a.       Medley Defendants and the Taubes

         Medley Defendants argue that they are too far removed from the transactions for Plaintiffs

  to have conferred a benefit on them. S^Doc.63 at 29. As the Court has indicated above. Plaintiffs

  seek class certification for individuals who obtained loans from AWL during the timeframe in

  which Medley engaged in the Contract Agreement with AWLH to finance AWL's participation in

  obtaining usurious loans from the class of plaintiffs.

         Plaintiffs allege that, as one ofthe initial financers ofthe AWL scheme, Medley Defendants

  gained a first lien security interest on substantially all of MacFarlane Group and/or American Web

  Loan. Am. Compl.|f 97. Plaintiffs further allege that Medley "maintained control" of the funds



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  needed to carry out AWL's goals. Id In a similar case, the Gingras court found that the retention

  ofallegedly illegal wealth by a company involved in a scheme similar to the one at issue here, was

  a sufficient "benefit" to one of its substantial investors for unjust enrichment purposes. 2016 WL

  2932163, at * 26. Thus, accepting Plaintiffs allegations as true for the purposes of this motion,

  Plaintiffs have conferred a benefit onto Medley by enriching assets over which Medley retains

  control and lien interests.


          Moreover,Plaintiff alleges that Medley engaged in "extensive and ongoing monitoring" of

  each of its investments, which presumably would include its $22.9 million investment in AWL.

  Am.Compl. |f|f 100-01. Additionally, Plaintiffs cited an email which purports to show that Medley

  was at least on notice of AWL's unreasonable interest rates. Id If 110. With that evidence,

  Plaintiffs have pleaded facts indicating that Medley was aware of its benefit, that Medley retained

  such benefits, and that it would be inequitable for Medley to retain the benefits without the

  Plaintiffs being made whole. Such allegations are sufficient to survive a motion to dismiss.

         Accordingly, Plaintiffs have alleged facts sufficient to support a claim that Plaintiffs

  conferred a benefit on Medley, that Medley had knowledge that Plaintiffs were conferring the

  benefit, and that Medley accepted the benefit under circumstances that render it inequitable for

  Medley to retain the benefit. Therefore, the Court DENIES AWL Defendants and Medley

  Defendants Motions to Dismiss for failure to state a claim for unjust enrichment.

                                  Hi.    GOLDPoint and Middlemarch

         The Court SUSTAINS GOLDPoint and Middlemarch's objections to Plaintiffs Amended

  Complaint as to Plaintiffs unjust enrichment claim against them. As indicated above. Plaintiffs

  have not alleged sufficient facts to support a reasonable inference that GOLDPoint and

  Middlemarch knowingly agreed and assented to profit from an unlawful lending scheme.



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  Therefore, the Court GRANTS GOLDPoint and Middlemarch's Motions to Dismiss Plaintiffs'

  Unjust Enrichment claims but GRANTS Plaintiffs leave to amend their complaint if they do so

  within ten(10)days of this order.

       VIII. MOTION TO DISMISS FOR LACK OF JURISDICITON AND IMPROPER

                                                    VENUE


          Medley Defendants make two arguments in support of their Motion to Dismiss for lack of

  personal Jurisdiction. First, Medley argues that the Court lacks personal jurisdiction under

  Virginia's long-arm statute. Second, Medley Defendants and the Taubes (collectively, "Medley

  Defendants") argue that Plaintiffs have failed to show a colorable RICO claim against them and

  therefore, they cannot establish personal jurisdiction over them. Doc. 65 at 15. Additionally,

  Medley Defendants argue that exercising personal jurisdiction under RICO would offend due

  process under the facts of this case. Id

       A. Personal Jurisdiction


          "[A] federal court's exercise of jurisdiction over a person is closely linked to effective

  service of process." ESAB Grp.. Inc. v. Centricut. Inc.. 126 F.3d 617,622(4th Cir. 1997).

         Rule 4(k) enumerates five sources authorizing service to effect in personam jurisdiction:
         (1)state law;(2)Federal Rules ofCivil Procedure 14 and 19(relating to third party practice
         and joinder), provided service is effected "not more than 100 miles from the place from
         which the summons issues;" (3) the federal interpleader statute, 28 U.S.C. § 1335; (4)
         federal statute; and (5) Federal Rule of Civil Procedure 4(k)(2) itself, to enforce claims
         "arising under federal law" on defendants who are not subject to the jurisdiction of any
          state.




  Id


                                   i.        Jurisdiction Under RICO


          Under the RICO statute there are two approaches to determining whether the Court has

  jurisdiction. Doc.65 at 15. The majority view, adopted by the Second, Seventh, Ninth, and Tenth


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  Circuits, holds that nationwide service of process in RICO suits is governed by section 1965(b),

  which provides that "[i]n any action under section 1964 ofthis chapter in any district court of the

  United States in which it is shown that the ends ofjustice require that other parties residing in any

  other district be brought before the court, the court may cause such parties to be summoned, and

  process for that purpose may be served in any judicial district of the United States by the marshal

  thereof." 18 U.S.C. § 1965(b). On the other hand,the minority view adopted by the Fourth Circuit

  provides for nationwide service under 18 U.S.C. § 1965(d), which states that service of process is

  appropriate "in any judicial district in which such person resides, is found, has an agent, or

  transacts his affairs." 18 U.S.C. § 1965. The Fourth Circuit has noted that:

         The RICO statute authorizes venue for civil actions in any district in which the defendant
         resides, is found, has an agent, or transacts his affairs. . . [a]nd it authorizes service of
         process in any judicial district in which such person resides, is found, has an agent, or
         transacts his affairs . . . evidencing Congress' desire that "[pjrovision [be] made for
         nationwide venue and service of process.

  ESAB Grp.. Inc.. 126 F.3d at 626 (internal quotations and citations omitted).

         Accordingly, under the Fourth Circuit's test,jurisdiction is proper as to Medley so long as

  the Plaintiffs have alleged a colorable RICO claim against them.        Sadighi v. Daghighfekr. 36

  F. Supp. 2d. 267, 274(D.S.C. 1999).

         Although Defendants urge the Court to apply the majority view, the Court declines to do

  so, as there is binding Fourth Circuit precedent on point. As noted above. Plaintiffs have alleged

  sufficient facts to support a colorable RICO claim against Medley Defendants.

         Notwithstanding that Plaintiffs have alleged a colorable RICO claim against Medley,

  Medley Defendants argue that "the exercise ofpersonaljurisdiction over them under § 1965 would

  be constitutionally unreasonable under the Fifth Amendment." Doc.65 at 22. Medley Defendants

  argue that this Court should dismiss claims by Plaintiffs who do not reside in Virginia under the



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  Supreme Court's decision in Bristol-Mvers Sauibb Co. v. Superior Court of California. 137 S. Ct.

  1773(2017). In Bristol, more than 600 plaintiffs—^most of whom were not California residents—

  sued Bristol-Myers Squibb("BMS")in California state court for alleged injuries arising from their

  use ofBMS's product. Id at 1777. The Supreme Court held that non-resident plaintiffs could not

  establish specific personal jurisdiction over BMS under the Fourteenth Amendment, stating that

  personal jurisdiction requires an affiliation between the forum and the controversy, and "[wjhere

  there is no such connection, specificjurisdiction is lacking regardless ofthe extent ofa defendant's

  unconnected activities in the State." Id at 1780-81. The Supreme Court left open the question of

  whether the Fifth Amendment imposes the same restrictions. Id at 1784.

         Plaintiffs note that a violation ofdue process occurs when the litigation in the chosen forum

  is "so gravely difficult and inconvenient" as to put defendants "unfairly . . . at a severe

  disadvantage in comparison to [their] opponent." Doc. 115 at 21 (citing D'Addario v. Geller. 264

  F. Supp. 2d 367, 387 (E.D. Va. 2003) (citation omitted)). Plaintiffs argue that exercising

  jurisdiction against Medley Defendants and the Taubes is proper as the Medley entities are "well-

  heeled financial institutions that operate and invest throughout the United States." Doc. 115 at 21.

  Further,Plaintiffs cite case law from the Fourth Circuit and other courts that have found that"when

  a defendant is a United States resident, it is [only in] 'highly unusual [cases] that inconvenience

  will rise to a level of constitutional concern.'" Doc. 115 at 22 (citing Trs. of the Plumbers &

  Pipefitters Nat'l Pension Fund v. Plumbing Servs.. Inc., 791 F.3d 436,444(4th Cir. 2015)(quoting

  ESAB. 126 F. 3d at 627)); Republic of Pan, v. BCCI Holdings (Lux.^ S.A.. 119 F.3d 935, 947

  (11th Cir. 1997)(same).

         Plaintiffs also distinguish Bristol, arguing that in Bristol "the claim was brought by a non

  resident and "involve[d] no harm in California and no harm to California residents." Doc. 115 at



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  24. Here, Medley Defendants are alleged to have engaged in and conspired to engage in a RICO

  conspiracy that has reached into Virginia by AWL offering loans to a Virginia resident.

  Additionally, Plaintiffs cite case law from this Court raising doubts as to the applicability ofBristol

  to class actions. Doc. 115 at 25 (citing Branch v. Gov't Emps. Ins. Co.. 323 F.R.D. 539,553 n.lO

  (E.D. Va. 2018)(stating in dicta that a class action defendant's "rather unique" attempt to use

  Bristol to challenge the Court's exercise of personal jurisdiction was "based on a rather strained

  reading of[Bristol] that has been soundly rejected by other courts.").

         The Court finds Plaintiffs' arguments persuasive. Accordingly, the Court DENIES

  Medley Defendants' Motions to Dismiss for Lack of Personal Jurisdiction. As the Court FINDS

  that personal jurisdiction is proper under the RICO statute, there is no need to separately address

  whether the Court has personal jurisdiction over Medley under the Virginia Long Arm Statute.

      B. Motion to Dismiss Improper Venue

          Medley Defendants argue that "even if Plaintiffs could establish RICO jurisdiction over at

  least one Defendant,the ends ofjustice neither require nor permit MOF11LP,Medley LLC,MCC,

  MMl, Medley Group, or the Taubes to be hailed into this District." Doc. 65 at 25. Specifically,

  Defendants allege that venue is not proper under section 1391(b)(1)because Plaintiffs do not allege

  any Defendant resides in Virginia. Am. Compl.         14-37. Further, Medley Defendants aver that

  venue is not proper under 1391(b)(2) because "a substantial part ofthe events or omissions giving

  rise to [each of Plaintiffs'] claim[s]" did not occur in this District." Doc. 65 at 26.

         Second, Medley Defendants argue that venue is improper under 18 U.S.C. § 1965. Doc.

  65 at 27. Section 1965(a) provides an action against a person may commence where such person

  "resides, is found, has an agent, or transacts his affairs." § 1965(a). Section 1965(b) provides that

  where an action is commenced and where "the ends ofjustice require that other parties residing in



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  any other district be brought before the court," such other parties may be served in any judicial

  district. Id Section 1965(d) provides that "other process" in a RICO proceeding may be served on

  a person where that person "resides, is found, has an agent, or transacts his affairs." Id Medley

  Defendants argue that Plaintiffs have failed to allege facts showing that any Defendants reside, are

  found, have agents, or transact their affairs in this District. They further argues that even if venue

  were proper as to another Defendant under section 1965(a), the ends of justice do not require

  Medley Defendants to be brought before this Court. Doc. 65 at 29.

         Plaintiffs respond by contending that Medley Defendants' participation in the RICO

  conspiracy provides a substantial basis for venue being proper under 1965(a), and even if venue is

  not proper under 1965(a), venue is proper under 1965(b), because venue is proper as to the AWL

  Defendants. Doc. 15 at 40 (citing R.J. Revnolds Tobacco Co. v. Mkt. Basket Food Stores. Inc..

  No. 5:05CV253-V, 2006 WL 2417269, at *4 (W.D.N.C. Aug. 21, 2006) ("[Sjection 1965(b)

  endeavors to ensure that at least one forum is available to a plaintiff litigating RICO conspiracy

  claims.")). Specifically, Plaintiffs allege that American Web Loan has sufficient contacts with the

  state of Virginia as it "transacted its affairs in Virginia, offering loans to Virginia residents,

  including Mr. Solomon." Id (citing Gingras, 2016 WL 2932163, at *19(finding venue proper in

  factually similar tribal lending scheme based on illegal loan transactions with district residents,

  which satisfied 'transacts his affairs' prong of section 1965(a))).

         In its Order denying AWL's Motion to Transfer Venue, the Court FOUND that venue is

  proper in the Eastern District Virginia regarding the underlying RICO claims against AWL

  Defendants, Curry, and Sol. Opinion & Order I at 38. The Court also FOUND that Plaintiffs have

  sufficiently alleged facts supporting Medley's engaged in the RICO conspiracy. Supra at 22-24.




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  Therefore,Court DENIES Medley Defendants' Motion to Dismiss for lack ofpersonaljurisdiction

  and improper venue.

      IX.     MOTION TO DISMISS FOR FAILURE TO JOIN A NECESSARY PARTY

          Medley Defendants also argue that the Tribe is a necessary and indispensable party to this

  action, and that the case must be dismissed because joining them to the action would deprive the

  Court of subject matter jurisdiction. Doc. 62.

      A. Joinder of a Necessary Party

          Under Federal Rule of Civil Procedure 19(a), a party is necessary in two situations. First,

  where "the court cannot accord complete relief among the existing parties" in that person's

  absence. Fed. R. Civ. P. 19(a)(2)(A), and second, where "that person claims an interest relating

  to the subject ofthe action" and is so situated that disposing ofthe matter without that person may

  "impair or impede the person's ability to protect the interest" or "leave an existing party subject to

  substantial risk ofincurring double, multiple, or otherwise inconsistent obligations because ofthe

  interest." Id. at R. 19(a)(1)(B). If a party is necessary, but joining that party would deprive the

  Court of subject matter jurisdiction, the Court must further inquire as to whether that party's

  involvement is "indispensable" to the action such that "in equity and good conscience" the court

  cannot proceed without them.           Fed. R. Civ. P. 19(b). In determining whether the party is

  "indispensable" the court considers:

         (1)the extent to which a judgment rendered in the person's absence might prejudice that
         person or the existing parties;
         (2)the extent to which any prejudice could be lessened or avoided by:
               (A)protective provisions in the judgment;
               (B)shaping the relief; or
                 (C)other measures;
         (3) whether ajudgment rendered in the person's absence would be adequate; and
         (4) whether the plaintiff would have an adequate remedy if the action were dismissed for
         nonjoinder.



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  Fed. R. Civ. P. 19(b). Dismissal of an action is required only if a non-joined party is both

  "necessary" and "indispensable." Home Buyers Warranty Corp. v. Hanna.750 F.3d 427,433(4th

  Cir. 2014). Otherwise,"if a person has not been joined as required, the court must order that the

  person be made a party." Fed. R. Civ. P. 19(a)(2). The burden of proof regarding whether a party

  should be joined to an action rests on the party raising the defense. Am. Gen. Life & Accident Ins.

  Co. y. Wood.429 F.3d 83,92(4th Cir. 2005).

     B. Discussion


         In support of their motion. Medley Defendants claim that "[t]he role ofthe Tribe is central

  to Plaintiffs' allegations, as are corporations owned by and formed under the Tribe's laws" and

  "[t]he Complaint focuses on the Tribe as the medium through which Mr. Curry allegedly

  'masterminded' an illegal payday lending scheme." Doc. 63 at 30-31.

         In opposition, Plaintiffs argue that the Tribe is not a necessary or indispensable party based

  on two factors. First, they argue it is not clear that the Tribe has affirmatively indicated that it

  claims an interest in the action. Doc. 109 at 4;^Am. Gen. Life & Acc. Ins. Co. v. Wood.429

  F.3d 83, 92(4th Cir. 2005)(affirming district court's conclusion that (a) party was not necessary

  for complete relief and (b)"had not claimed an interest in the" action); Virginia Int'l Terminals.

  LLC y. Keystone Transp. Sols.. LLC. No. 2:17cy537, 2018 WL 2054578, at *8(E.D. Va. Apr. 5,

  2018)(finding absent party had not"claimed an interest in the subject matter ofthis action" where

  absent party had not "affirmatively indicated" interest to this Court), report and recommendation

  adopted. No. 2:17cy537, 2018 WL 2050144(E.D. Va. May 1, 2018).

         Plaintiffs cite Commonwealth of Pennsylvania v. Think Finance. Inc.. No. 14-cy-7139,

  2016 WL 183289 (E.D. Pa. Jan. 14, 2016) to support their argument. The factual circumstances

  in Think Finance are analogous to this case. In Think Finance, a plaintiff sued an entity engaged



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  in a "rent-a-tribe" scheme and defendants moved to dismiss for failure to join the Indian tribe as a

  necessary party. Think Finance. 2016 WL 183289 at *4. While the Tribe claimed contractual and

  sovereign interests in the litigation, the court concluded that the relief sought only impacted the

  defendants and not the Tribe as "the tribes are free to continue making loans" even if the Court

  found against the Defendants. Id. at *7.

         As in Think Finance,the Court FINDS that it can accord complete reliefamong the existing

  parties. Plaintiffs request the following relief: (I) certification as a class; (2) declaration that

  AWL's loans are unlawful, unenforceable and void;(3)a finding in their favor on all counts;(4)

  an award to plaintiffs and the class of equitable relief, including but not limited to: an accounting;

  return of all unlawful interest and finance charges paid in connection with the loan; disgorgement

  of profits; a constructive trust; restitution; and/or any other remedy the Court deems proper;(5)

  treble damages; (6) an injunction against further violations of the law; (7) an order awarding

  attorney's fees and costs; and (8)any such other relief that the court deems just and proper. Am.

  Compl. at 108-09      A-J. As the supplemental materials provided in the parties' jurisdictional

  discovery illustrate, while the Tribe is nominally involved in this action through creating the

  alleged tribal entity, the Court can accord complete relief to plaintiffs without implicating the

  Tribe. Plaintiffs' relief under RICO deals primarily with Mark Curry's manipulation and control

  of the tribal lending entity, not with the Tribe's actions ofengaging in online lending.

         The Court also FINDS that disposing of this action in the Tribe's absence will not "as a

  practical matter impair or impede [the Tribe's] ability to protect the interest" or "leave an existing

  party subject to a substantial risk of incurring double, multiple, or otherwise inconsistent

  obligations because of the interest." Fed. R. Civ. P. 19. If the Court were to ultimately grant the

  relief which Plaintiff seeks, it would not have to order the Tribe to do or refrain from doing



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  anything. Indeed, even if Plaintiffs ultimately prevail on the merits, the Tribe would be free to

  continue issuing loans on the reservation. Put another way, resolving the claims brought by

  Plaintiffs would not place obligations on the Tribe. There is no relationship between the Tribe and

  Plaintiffs; moreover, the Tribe's relationship to this suit - if one exists - is marginal at best. As

  explained above - Plaintiffs only seek redress from the named Defendants and bring no contract

  claims which may otherwise implicate the Tribe.

         The overall lending scheme at issue here uses the Tribe as a conduit through which the

  named Defendants seek to escape liability. The Tribe was not involved in granting the loans or

  collecting them. Furthermore, AWL has no liability to the Tribe, because the property ofthe Tribe,

  Directors, and officers are "exempt" from the liabilities of AWL. Doc. 73-9 at 13. While the

  promissory note contains a clause which purports to require the Tribe to indemnify Curry, it seems

  dubious to argue that that provision is enforceable, given the substantial impact that would have

  on the Tribe's treasury. The cost ofthis litigation is sure to be substantial, and to require the Tribe

  to pay the Curry Defendant's bills - or worse,join the Tribe as a Defendant - would drain the

  Tribe's apparently limited resources. In other words, the Tribe likely cannot afford to be a party

  to this litigation, and their joinder is not necessary to give complete relief to the Plaintiffs.

  Therefore, the Tribe need not be joined under Rule 19.

         To the extent that the Tribe's absence may impede their ability to protect the interest in

  funds that are distributed to the Tribe through AWL ll's revenue, the Court notes that Plaintiffs

  have sufficiently alleged that the revenues primarily benefit Curry. Therefore, even if the Tribe

  was a "necessary" party, it would not be indispensable because the "extent to which a judgment

  rendered in [the Tribe's] absence" effects the Tribe's interest, and any resulting prejudice to the

  Tribe, can be avoided. The Court may shape the relief in such a manner that any judgement by the



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  Court attaches to revenues inured to Curry in his individual capacity or Curry's entities, rather than

  those of the Tribe. Plaintiffs would also be highly prejudiced if the case was dismissed for

  nonjoinder, which weighs strongly against joinder in this case due to the minimal percentage of

  the revenue that inures to the Tribe.

          Accordingly, the Court DENIES Medley Defendants' Motion Dismiss for Failure to Join

  a Necessary party.

                                          X.   CONCLUSION


          For the reasons stated herein, the Court DENIES AWL Defendants, Defendants Curry and

  Sol's and Medley Defendants' Motions to Dismiss, Docs. 62,64, 76, and 87, in their entirety, and

  the Court GRANTS GOLDPoint and Middlemarch's Motions to Dismiss, Docs 77, 81, in their

  entirety. The Court GRANTS Plaintiffs further LEAVE TO AMEND their complaint as to

  GOLDPoint and Middlemarch within ten (10)days of this order.

          The Clerk is REQUESTED to send a copy of this Order to all counsel of record.

          It is so ORDERED.                                     /g/
                                                  Henry Coke Morgan, Jr.
                                                  Senior United Slates District Judge         Q]!Gaa/;
                                                        HENRY COKE MORGAN,JR.
                                                 SENIOR UNITED STATES DISTRICT JUDGE

  Norfolk, Virginia
  March       ,2019




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